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                      IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF PUERTO RICO


   IN RE:                                                 CASE NO: 13- 00415 EAG

   JOSE VEGA ARROYO

   Debtor’s                                                   Chapter 13


                               MOTION TO AMEND PLAN

   TO THE HONORABLE COURT:

          COMES NOW, JOSE VEGA ARROYO , through the undersigned attorney and
   respectfully avers and prays:

            1.   The debtor is submitting an Amended Plan since the proposed plan is
                 insuficienthly funded to pay 100% + legal interest at 4.25 .

            WHEREFORE, the debtor prays that the Amended plan dated 12/20/2013 be

   considered for confirmation.


   CERTIFICATE OF SERVICE: I hereby certify that on December 20 , 2013, I

   electronically filed the present motion, with the Clerk of the Court using the CM/ECF

   System which will send notification of such filing to the CMF/ECF participants

   and I hereby certify that I have mailed by United States Postal Service the present motion to

   the non CM/ECF participants as per the attached mailing list.

   In Yauco, Puerto Rico this 20sd day of December 2013.

                                                        /S/Nydia Gonzalez Ortiz
                                                           USDC-PR 124006
                                                          Attorney for Debtor
                                                      SANTIAGO & GONZALEZ
                                                           11 Betances Street
                                                        Yauco, Puerto Rico 00698
                                                       Phones (787) 267-2205/2252
                                                          Fax: (787) 267-6211
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              13-00415-EAG13 JOSE RAMON VEGA ARROYO


                                  Creditors


ALFREDO CANCEL             11 CALLE                   (cr)
IRIZARRY                   BETANCES                   INTERNAL
PO BOX 427                 YAUCO PR 00698             REVENUE
LAJAS PR 00667                     (3637499)          SERVICES
    (3637500)              (cr)                       PO BOX 16236
(cr)                       DEPARTAMENTO               PHILADELPHIA PA
AUTORIDAD DE               DE HACIENDA                19114 0236
ENERGIA                    NEGOCIADO DE               (3637506)
ELECTRICA                  CONTRIBUCIONES             (cr)
DE PR                      DE COBRO                   IRS
PO BOX 363508              PO BOX 2520                INTERNAL
SAN JUAN PR 00936          TRUJILLO ALTO PR           REVENUE SERVICE
         (3637501)         00977 2520                 KANSAS CITY MO
                           (3637503)                  64999 0202
(cr)
                           (cr)                       (3637507)
BANCO POPULAR
                           DEPARTMENT OF              (cr)
PO BOX 362708              THE TREASURY               IRS MERCANTIL
SAN JUAN PR 00936          INTERNAL                   BUILDING
3228     (3637502)         REVENUE SERVICE            2 PONCE DE LEON
(cr)                       PHILADELPHIA PA            AVENUE SUITE 1014
BANCO POPULAR              19154 0030                 SAN JUAN PR 00918
DE PUERTO RICO             (3637504)                           (3637508)
BANKRUPTCY                 (cr)                       (cr)
DEPARTMENT                 DEPARTMENT OF              MONEY HOUSE PR
PO BOX 366818              TREASURY                   COM
SAN JUAN PR                BANKRUPTCY                 52 CALLE PASEO
00936-6818                 SECTION SUITE 1504         COVADONGA
(3661891)                  235 AVE ARTERIAL           PUERTA DE TIERRA
(cr)                       HOSTOS
                                                      SAN JUAN PR 00901
BUFETE SANTIAGO            SAN JUAN PR 00918                   (3637509)
& GONZALEZ                          (3637505)
                                                      (cr)
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POPULAR AUTO
BANKRUPTCY
DEPARTMENT
PO BOX 366818
SAN JUAN PUERTO
RICO 00936-6818
          (3661895)
(cr)
                      Case:13-00415-EAG13 Doc#:41 Filed:12/20/13 Entered:12/20/13 11:12:51                                                                          Desc: Main
                                                 Document
                                               United           Page 4 of
                                                      States Bankruptcy   4
                                                                        Court
                                                                                     District of Puerto Rico

     IN RE:                                                                                                                                   Case No. 13-00415                    -
     YE%              ARROYO. JOSE RAMON                                                                                                       Chapter 13                     ---.
                                                                  Debtor@)

                                                                       CHAPTER 13 PAYMENT PLAN
     1. The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall make payments
     to the Trustee adirectly by payroll deductions as hereinafter provided in the PAYMENT PLAN SCHEDULE.
     2. The Trustee shall distribute the funds so received as hereinafter provided in the DISBURSEMENT SCHEDULE.

         PLAN DATED:                                                                                        AMENDED PLAN DATED: 1212012013                                -
                                                                                                            Filed bv: d ~ e b t o r Trustee mother
     I                 I. PAYMENT PLAN SCHEDULE
                                                                                     I                            11. DISBURSEMENT SCHEDULE
                                                                                                                                                                                                 I
         $                 410.00               17=$                   6,970.g A. ADEQUATE PROTECTION PAYMENTS OR                                                   $-
         $.-               610.00 x,.-          la=$               109,-       B. SECURED CLAIMS:
         $.........                x. . . . . .   = $ ......       2             0 QDebtor represents no secured claims.
     I$                            x              =$
                                                  -
                                                                                 "   I       Creditors having secured clain~swill retain their liens and shall be paid as                        I
         $                     .-x                  $                                     follows:
-
,
c
o                                                                                         1. q Trustee pays secured ARREARS:
1                                       TOTAL: $ . - 4 W 5 0 . 0 0                        Cr.        -              Cr. ,..                .....Cr. ...            ....
e,
 0
                                                                                                &!
                                                                                                                    _       A!
                                                                                                                            rr_______                  -     ii
                                                                                                                                                                                       -

         Additional Payments:                                                                   $-                 ... --   $                                $-
                                      be paid as a LUMP SUM                               2. Trustee pays IN FULL Secured claims:
         within                    ..with proceeds to come from:                          Cr.                   Cr. ---           .....                     Cr.                            ...
e                                                                                               ,
                                                                                                I
                                                                                                                            *
                                                                                                                            fl
                                                                                                                                                             *..-
                                                                                                                                                             fl


         •     Sale of Property identified as follows:                                          $--.                        $-                               $ ........

-"                                                                    -                   3. Trustee pays VALUE OF COLLATERAL:
-
                                                                      --                  Cr.                  Cr.                                          Cr.
d                                                                                               #                           #                                #
         q Other:                                                                               $              .       $                    $                                  ..
2-                                             ............                               4.           Debtor SURRENDERS COLLATERAL to Lien Holder:
6                                                .......                         .................                               ...............                              ..
X                                                                                         5. Other:
B
         Periodic Paymentsto be made other than, and in                                     -. -- -
         addition to the above:                                                           6 . 6 e b t o r otherwise maintains regular payments directly to:
          $     MONEY H0USEPR.C                       -
     $~ X
     -      C. PRIORITIES: The Trustee shall pay priorities in --.ordance                                                                                     with the law.
                          PROPOSED BASE: $                         41,950.00              l l U.S.C. 5 507 and 5 1322(a)(2)T~-ry             . .        -
                                                                                                                                                      ,. , ,'i\
                                                                                          D. UNSECURED CLAIMS: Plan q Classifies d ~ o e not           s Classify Claims.
                           111. ATTORNEY'S FEES                                           1. (a) Class A:    CO-debtorClaims 1 other:        ......... ..,,.,
                           (Treated as 5 507 Priorities)                                                     Paid 100% 1 Other: . ,.........
                                                                                          Cr.                       Cr.
         Outstanding balance as per Rule 2016@) Fee                                             #                                                            #
         Disclosure Statement: $3,000.00                                                        $       ......   $                      $---
                                                                                     - 2. Unsecured Claims otherwise receive PRO-RATA disbursements.

                                                                                          OTHER PROVISIONS: (Erecutory onlroclr; payment ofinrerest ro unsecureds, elc.)
                                                                                          PAY 100%          + 4.25 LEGAL INTEREST
         Signed: /s/JOSE RAMON VEGA ARROYO

     I           Debtor


                        ...       .... "                      -   "     ......
                        Joint Debtor
                                                                                     1
     Attorney for Debtor Etufetggantiago 8 Gonzalez                                                                                 -Phone: (zfl71267-2205
     CHAPTER 13 PAYMENT PLAN
